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

                             UNITED STATES DISTRICT COURT

               NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

 APPLE INC., a California corporation,          CASE NO. 11-cv-01846-LHK

               Plaintiff,                       DECLARATION OF MARK GRAY IN
                                                   SUPPORT OF SAMSUNG’S
        vs.                                     ADMINISTRATIVE MOTION TO FILE
                                                   UNDER SEAL DOCUMENTS RELATING
 SAMSUNG ELECTRONICS CO., LTD., a               TO SAMSUNG’S NOTICE OF MOTION
    Korean business entity; SAMSUNG                AND MOTION FOR PARTIAL
 ELECTRONICS AMERICA, INC., a New               SUMMARY JUDGMENT
    York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,
    LLC, a Delaware limited liability company,

                  Defendants.
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                                                                    Case No. 11-cv-01846-LHK
                        GRAY DECL. ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1          I, Mark Gray, declare:

 2          1.     I am a member of the State Bar of California, admitted to practice before this

 3 Court, and an attorney at the law firm of Quinn Emanuel Urquhart & Sullivan, LLP, attorneys for

 4 Defendants Samsung Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung

 5 Telecommunications America, LLC (collectively, “Samsung”).1 I make this declaration of

 6 personal, firsthand knowledge, and if called and sworn as a witness, I could and would testify as

 7 set forth below.

 8          2.     Pursuant to Local Rules 7-11 and 79-5, I make this declaration in support of

 9 Samsung’s Administrative Motion to File Under Seal Documents Relating to Samsung’s Notice of

10 Motion and Motion for Partial Summary Judgment.

11          3.     Samsung seeks to seal portions of its Motion for Partial Summary Judgment,

12 including the exhibits thereto, that reveal highly confidential technical and product manufacturing

13 information, and the identities of Samsung’s suppliers of components. In line with the procedural

14 mechanism followed by the parties in this case, Samsung will serve highlighted versions of these

15 documents on Apple and Apple will file conformed highlighted versions within seven days of this

16 Declaration. (See Dkt. No. 3573 at 1). As explained in detail in the previously filed declarations

17 of Daniel W. Shim, Senior Legal Counsel at Samsung Electronics Co., Ltd., in support of

18 administrative motions to file under seal, which are hereby incorporated by reference, Samsung
19 considers documents related to the creation of its products highly confidential. See Dkt. Nos. 874

20 (re: Apple’s Opposition to Samsung’s MSJ), 940 (re: Apple MTS), 1018 (re: Samsung’s Reply

21 ISO MTS) in C.A. No. 5:12-cv-00630-LHK.

22          4.     As a Motion for Partial Summary Judgment, Samsung’s Motion is considered

23 dispositive. In this context, materials may be sealed so long as the party seeking to seal provides

24 “compelling reasons […] supported by specific factual findings that outweigh the general history

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         Effective January 1, 2015, Samsung Telecommunications America (“STA”) merged with
   and into Samsung Electronics America, and therefore STA no longer exists as a separate
27 corporate entity.

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                                                -1-                    Case No. 11-CV-1846-LHK
                          GRAY DECL. ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
      Case 5:11-cv-01846-LHK Document 3592-1 Filed 02/23/18 Page 3 of 4




 1 of access and the public policies favoring disclosure.” Kamakana v. City & Cnty. of Honolulu,

 2 447 F.3d 1172, 1178-1179 (9th Cir. 2006). Compelling reasons have been found to seal, for

 3 example, documents containing confidential source code (Apple, Inc. v. Samsung Electronics Co.,

 4 Ltd., Case No. 11-cv-1846, D.I. 2190 at 3 (Dec. 10, 2012); documents containing “information

 5 about [a party’s] business performance, structure, and finances that could be used to gain unfair

 6 business advantage against them,” Schwartz v. Cook, No. 5:15-cv-03347-BLF, 2016 WL 1301186,

 7 at *2 (N.D. Cal. Apr. 4, 2016); documents containing “highly sensitive information regarding [the

 8 party’s] product architecture and development,” Delphix Corp. v. Actifio, Inc., No. 13–cv–04613–

 9 BLF, 2014 WL 4145520, at *2 (N.D. Cal. Aug. 20, 2014); and documents in the form of “emails

10 containing information about [a party’s] business practices, recruitment efforts, and discussions

11 regarding potential partnerships with other product manufacturers,” Koninklijke Philips N.V. v.

12 Elec-Tech International Co., Ltd., No. 14–cv–02737–BLF, 2015 WL 581574, at *1-2 (N.D. Cal.

13 Feb. 10, 2015).

14          5.     Samsung also moves to seal information designated highly confidential by Apple

15 and expects that Apple will file the required supporting declaration in accordance with Civil Local

16 Rule 79-5 as necessary to confirm whether the information should be sealed.

17          I declare under penalty of perjury that the foregoing is true and correct. Executed on

18 February 23, 2018, at Redwood City, California.
19

20 Dated: February 23, 2018                                QUINN EMANUEL URQUHART &
                                                           SULLIVAN, LLP
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23
                                                 By /s/ Mark Gray
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                                                   Mark Gray
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                                                    Attorney for SAMSUNG ELECTRONICS CO.,
26                                                  LTD., SAMSUNG ELECTRONICS AMERICA,
                                                    INC. and SAMSUNG
27                                                  TELECOMMUNICATIONS AMERICA, LLC
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                                                -2-                    Case No. 11-CV-1846-LHK
                          GRAY DECL. ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
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 1                                          ATTESTATION
 2

 3          I, Victoria Maroulis, am the ECF User whose ID and password are being used to file this

 4 Declaration. In compliance with Civil Local Rules 5-1(i), I hereby attest that Mark Gray has

 5 concurred in this filing.

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 7 Dated: February 23, 2018                        /s/ Victoria Maroulis
                                                   Victoria Maroulis
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                                               -3-                    Case No. 11-CV-1846-LHK
                         GRAY DECL. ISO SAMSUNG’S ADMINISTRATIVE MOTION TO FILE UNDER SEAL
